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 6                               UNITED STATES DISTRICT COURT
 7                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
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 9     AMAN SHEKHAR NAIDU,                                Case No. C20-1411-RSM
10
                      Plaintiff,                          ORDER OF DISMISSAL
11
                           v.
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13     CHILD PROTECTIVE SERVICES, et al.,

14                    Defendants.
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16          This matter comes before the Court sua sponte and on the Court’s prior Order to Show

17   Cause, Dkt. #7. Plaintiff Aman Shekhar Naidu, proceeding pro se, filed this Section 1983 civil
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     rights action against Child Protective Services and social worker Chelsea Costello (“Defendants”)
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     on September 23, 2020. Dkt. #1. Plaintiff has been granted leave to proceed in forma pauperis.
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     Dkt. #4. Summonses have not yet been issued.
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22          On September 29, 2020, the Court issued an Order to Show Cause that identified several

23   deficiencies in Plaintiff’s complaint that, if not adequately explained, would require dismissal.
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     Dkt. #7. The Court granted Plaintiff thirty days to file a Response explaining to the Court (1) the
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     separate causes of action upon which his claims are based, (2) how Defendants violated each of
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27   those laws causing harm to Plaintiff, including the dates and times of the events giving rise to his

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     ORDER OF DISMISSAL - 1
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     claims, and (3) why this case should not be dismissed. Id. at 3-4. The Court cautioned Plaintiff
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 2   that “failure to file this Response will result in dismissal of this case.” Id. at 5.

 3           Mr. Naidu has failed to respond to the Court’s Order to Show Cause. Accordingly,
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     dismissal of this case is now warranted. The Court hereby finds and ORDERS:
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             1) Plaintiff’s claims are DISMISSED for failure to prosecute pursuant to LCR 41(b)(2).
 6
 7           2) This case is CLOSED.

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             DATED this 5th day of November, 2020.
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                                                     A
                                                     RICARDO S. MARTINEZ
13                                                   CHIEF UNITED STATES DISTRICT JUDGE

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     ORDER OF DISMISSAL - 2
